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:N THE UNITED sTATEs DISTRICT cOURT 05,_5|;99 9_:
FOR THE wEsTERN DISTRICT oF TENNESSEE " " ’5»1 sir‘, 99 U-‘-
wEsTERN DIVISION 931 __
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UNITED STATES OF AMERICA
Plaintlff,
Criminal No. di -TUWO? Ml

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at §;QQ
a.m. on Fridav, MaV 27, 2005, With trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22nd day of April, 2005.

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wah me 55 andfor azrba FRCrP on g" § ]____" 5

Case 2:04-cr-20402-.]PI\/| Document 36 Filed 04/25/05 Page 2 of 3 Page|D 64

so ORDERED this 22“dl day of April, 2005.

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JON HIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

Assistant<g:§§;pv:é§/ /;;;>
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Counsel for Defendant(s)

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20402 Was distributed by faX, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Greg Gilluly

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142 North Third St.
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Honorable J on McCalla
US DISTRICT COURT

